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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                          Chapter 13

EDITH ASTUDILLO,                                                                Case No. 19-40173-ess

                                    Debtor.
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                               ORDER SCHEDULING A HEARING
                              ON THE LOSS MITIGATION REQUEST

        WHEREAS, on January 10, 2019, Edith Astudillo filed a petition for relief under Chapter

13 of the Bankruptcy Code; and

        WHEREAS, on January 10, 2019, the Debtor filed a request to enter into the Court’s

Loss Mitigation Program (the “Loss Mitigation Request”) with HSBC Bank USA (the

“Creditor”), with respect to the property located at 87-25 Kingston Place, Jamaica, NY 11432,

with respect to the loan ending in 0955; and

        WHEREAS, the Debtor did not file proof of service in connection with the Loss

Mitigation Request.

        NOW THEREFORE, it is hereby

        ORDERED, that the Debtor is directed to serve, by first-class mail and e-mail upon (a)

the Office of the United States Trustee; (b) the Chapter 13 trustee; (c) the Creditor; (d) all other

creditors scheduled by the Debtor; and (e) all parties that have filed proofs of claim in the

Chapter 13 case; and (f) all parties who have requested to receive notice, to be received by

February 13, 2019; and it is further

        ORDERED, that the Debtor is directed to file proof of service with the Court by February

15, 2019; and it is further
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       ORDERED, that any opposition to the Loss Mitigation Request shall be in writing, and

shall be served and filed to be received by February 27, 2019; and it is further

       ORDERED, that the Court will hold a hearing on the Loss Mitigation Request and any

opposition thereto on March 19, 2019, at 2:30 p.m., before the Honorable Elizabeth S. Stong,

United States Bankruptcy Court, 271-C Cadman Plaza East, Courtroom 3585, Brooklyn, New

York 11201; and it is further

       ORDERED, that if no opposition to the Loss Mitigation Request is filed, the March 19,

2019 hearing may be marked off the Court’s calendar, and an Order directing the Debtor and the

Creditor to enter in the Court’s Loss Mitigation Program may be entered without further notice

or opportunity to be heard.




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 Dated: Brooklyn, New York                                              Elizabeth S. Stong
        February 6, 2019                                         United States Bankruptcy Judge

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TO:

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